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                  1   MARC E. MAYER (SBN 190969), mem@msk.com
                      MITCHELL SILBERBERG & KNUPP LLP
                  2   2049 Century Park East, 18th Floor
                      Los Angeles, CA 90067-3120
                  3   Telephone: (310) 312-2000
                      Facsimile: (310) 312-3100
                  4
                      Attorney for Nintendo of America Inc.
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                  8                                UNITED STATES DISTRICT COURT

                  9                              NORTHERN DISTRICT OF CALIFORNIA

                 10                                     SAN FRANCISCO DIVISION

                 11   In re DMCA Subpoena to Discord, Inc.                MISC. CASE NO. 3:23-MC-80108

                 12                                                       DECLARATION OF MARC E. MAYER
                                                                          IN SUPPORT OF DMCA SUBPOENA
                 13                                                       DISCORD, INC. PURSUANT TO 17
                                                                          U.S.C. § 512(H)
                 14

                 15

                 16

                 17          I, Marc E. Mayer, declare as follows:

                 18

                 19          1.      I am an attorney at law, duly licensed to practice law in the State of California and

                 20   before this Court. I am, through my professional corporation, a partner in the law firm Mitchell

                 21   Silberberg & Knupp, LLP (“MSK”). MSK is counsel for Nintendo of America Inc. (“NOA”).

                 22   NOA’s copyrights include, but are not limited to, the copyright-protected and unreleased special

                 23   edition art book for The Legend of Zelda: Tears of the Kingdom (the “Art Book”). MSK is

                 24   authorized to act on NOA’s behalf in the protection of copyrights and/or exclusive rights

                 25   possessed by NOA pertaining to the Art Book.

                 26           2.     NOA is requesting the attached proposed subpoena that would order Discord Inc.

                 27   (“Discord”) to disclose the identity, including the name(s), address(es), telephone number(s), and
    Mitchell     28   e-mail addresses(es) of the user bombablewall#7496, who is responsible for posting infringing
  Silberberg &
   Knupp LLP
                                                                                       MISC. CASE NO. 3:23-mc-80108
15258336.1
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                  1   content that appeared at the following channel Discord channel Zelda: Tears of the Kingdom

                  2   (hxxps://discord.gg/ACmJp8N7GG) (the “Infringing Channel”). The purpose for which this

                  3   subpoena is sought is to obtain the identity of the Discord user bombablewall#7496, who posted

                  4   infringing content that appeared on the Infringing Channel.

                  5          3.      The information obtained will be used only for the purposes of protecting the rights

                  6   granted to NOA under the Copyright Act.

                  7          4.      Under 17 U.S.C. § 512(c)(3)(A), NOA submitted a takedown notice to Discord

                  8   identifying the infringing content posted by the infringing user(s) and providing the information

                  9   required by 17 U.S.C. § 512(c)(3)(A). A true and accurate copy of the submitted notification is

                 10   attached hereto as Exhibit 1.

                 11          I declare under penalty of perjury under the laws of the United States of America that the

                 12   foregoing is true and correct to the best of my knowledge, information and belief.

                 13          Executed in Los Angeles, California on April 7, 2023.

                 14

                 15                                                                       ________________________
                                                                          Marc E. Mayer
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                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
15258336.1
                                                                      2                MISC. CASE NO. 3:23-mc-80108
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        EXHIBIT 1
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From:           Support
To:             Legal DMCA Policy
Subject:        RE: Notice of Infringement: Nintendo of America Inc. - The Legend of Zelda: Tears of the Kingdom
Date:           Tuesday, February 21, 2023 11:49:40 AM



 ##- Please type your reply above this line -##

 Your request is 32564937 has been updated. To add additional comments, reply to this email.




 Jack Bohannon (Discord)
 Feb 21, 2023, 09:47 PST

 Hello,

 Thank you for getting in touch with our team. We will initiate the process in issuing a DMCA Violation
 Notice, and the content will be removed promptly. If you have any questions in the meantime please
 let us know here.

 Sincerely,
 Discord Legal



 NOALegal
 Feb 21, 2023, 09:39 PST

 Dear Discord,
 This notice is provided pursuant to the Digital Millennium Copyright Act, 17 USC § 512. I write to
 request that you remove or disable access to the following URLs (also provided in attached
 document):
 https://discord.com/channels/916696914630701106/1077008639941943377/1077296179819319307

 https://discord.com/channels/916696914630701106/1077008639941943377/1077301211155402903

 https://discord.com/channels/916696914630701106/1077008639941943377/1077008807445680139

 https://discord.com/channels/916696914630701106/1077008639941943377/1077305803079426169

 https://discord.com/channels/916696914630701106/1077008639941943377/1077391158805811230

 https://discord.com/channels/916696914630701106/1077008639941943377/1077378281000685648

 The reported links, from the Tears of the Kingdom Official Discord server, feature images or provide
 download links to images from Nintendo's copyright-protected and unreleased special edition art
 book for The Legend of Zelda: Tears of the Kingdom video game in violation of Nintendo's rights.
 Although the server name includes the word “Official”, the server is not operated or authorized by
 Nintendo. Additional information about the game can be found at the following link on Nintendo’s
 official website: https://www.nintendo.com/store/products/the-legend-of-zelda-tears-of-the-
 kingdom-switch/
 I have a good faith belief that this use of Nintendo’s IP is not authorized by the copyright owner, its
 agent, or the law. I hereby state that the information herein is accurate and, under penalty of
 perjury, that I am authorized to act on Nintendo of America Inc.’s behalf.
 Please contact us with any questions. This notice is not intended to and shall not waive or prejudice
 any rights and remedies that Nintendo may have at law, in equity, or otherwise. Any and all such
 rights and remedies are hereby expressly reserved.
 Sincerely,
 Jen Qualls
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 Attachment(s)
 Discord_DMCA LOZ TOTK_art book.pdf




[6E0X35-2MVDZ]
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From:           Support
To:             Legal DMCA Policy
Subject:        RE: Notice of Infringement: Nintendo of America Inc.
Date:           Wednesday, February 22, 2023 5:16:57 PM



 ##- Please type your reply above this line -##

 Your request is 32576484 has been updated. To add additional comments, reply to this email.




 Jack Bohannon (Discord)
 Feb 22, 2023, 15:16 PST

 Hello,

 Thanks for your message.

 We have issued a warning to the server for the reported activity.

 Additionally, if you are concerned about potential consumer confusion, and wish to file a complaint of
 alleged trademark infringement, you can submit a report using the Discord trademark infringement
 report form here:

 https://support.discord.com/hc/requests/new?ticket_form_id=5410408552343

 You can find additional information regarding Discord’s Copyright and Trademark policies below:

 https://support.discord.com/hc/articles/4410339349655-Discord-s-Copyright-IP-Policy

 Sincerely,
 Discord Legal



 NOALegal
 Feb 21, 2023, 19:11 PST

 Dear Discord Abuse Team,

 Nintendo of America Inc. requests immediate review and takedown of the Tears of the Kingdom
 Official Discord server pursuant to Discord’s Community Guidelines which prohibit users from using
 Discord’s “..services to commit any crime or infringe anyone’s intellectual property rights.”

 As mentioned in the follow-up email to our original DMCA complaint (Request #32564937), server
 members continue to distribute Nintendo's copyright-protected and unreleased special edition art
 book for The Legend of Zelda: Tears of the Kingdom by posting links, instructing members to DM
 other members for links, and providing direct links through server posts or in their member profile
 information. Additionally, some members have been assigned the role of “The PDF Pirate” which
 identifies them as a source for PDF files of the infringing art book images. For your review, we have
 also provided screenshots from the server featuring four members and a brief description below
 highlighting their activity in the server.
 1. Member: ravio – dm for pdf aka @wyrm milk
 a. Updated server username to “ravio-dm for pdf” and instructs members to DM for the link
 b. States they have sent the link to “like 200 people lol”
 c. Roles include “THE PDF PIRATE”
 Post link(s):
 https://discord.com/channels/916696914630701106/1077327287416012900/1077673844589985895

 https://discord.com/channels/916696914630701106/1077327287416012900/1077673898725867551
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 https://discord.com/channels/916696914630701106/1077327287416012900/1077721840715300944

 2. Member: DM for PDF² aka @Ariel.#1983
 a. Updated server username to “DM for PDF²” and instructs members to DM for the PDF link they
 sent
 b. Roles include “THE PDF PIRATE”
 Post link(s):
 https://discord.com/channels/916696914630701106/1077327287416012900/1077673338991804466

 3. Member: Cam – Lead Dr Pepper fan aka @Camtheyam#9405
 a. Includes link to Google doc of PDF of the infringing images in profile (link reported to Google)
 b. Instructs members to DM for link/file of infringing images
 c. Roles include “THE PDF PIRATE”
 Post link(s):
 https://discord.com/channels/916696914630701106/1077327287416012900/1077673676994003045

 https://discord.com/channels/916696914630701106/1077327287416012900/1077674593873043536

 https://discord.com/channels/916696914630701106/1077327287416012900/1077674078946734120

 4. Member: DM FOR TOTK ARTBOOK aka @kate!#0001
 a. Updated server username to “DM FOR TOTK ARTBOOK”
 b. In post included DISCORD link for PDF attachment of infringing images
 Post link(s):
 https://discord.com/channels/916696914630701106/1077327287416012900/1077663983252811797

 Attachment(s)
 Discord_DMCA LOZ TOTK_art book 2 Screenshots.pdf




[6E02R7-E447G]
